                        Case 1:12-cv-01466-ALC Document 63 Filed 09/17/20 Page 1 of 2
 AO 154 (10/03) Substitution of Attorney


                                           UNITED STATES DISTRICT COURT
                         Southern                               District of                                        New York


                  U.S. ex rel. Weiner                                        CONSENT ORDER GRANTING
                                              Plaintiff (s),                 SUBSTITUTION OF ATTORNEY
                             V.
                  Siemens AG et al.,                                         CASE NUMBER:                 1:12-cv-01466 (ALC)
                                            Defendant (s),

           Notice is hereby given that, subject to approval by the court,             Clifford Weiner                                      substitutes
                                                                                                          (Party (s) Name)

Adam Pollock                                                                 , State Bar No.       4518833                      as counsel of record in
                            (Name of New Attorney)

place of       Sean Callagy, Michael Smikun, and Tara McClouskey of Callagy Law, P.C.                                                                    .
                                                          (Name of Attorney (s) Withdrawing Appearance)



Contact information for new counsel is as follows:
           Firm Name:                  Pollock Cohen LLP

           Address:                    60 Broad St., 24th Fl; New York, NY 10004

           Telephone:                  (212) 337-5361                                Facsimile (347) 696-1227
           E-Mail (Optional):          Adam@PollockCohen.com


I consent to the above substitution.
Date:                           9/17/2020
                                                                                                               (Signature of Party (s))

I consent to being substituted.
Date:
                                                                                                      (Signature of Former Attorney (s))

I consent to the above substitution.
Date:         Sept. 17, 2020
                                                                                                            (Signature of New Attorney)



The substitution of attorney is hereby approved and so ORDERED.


Date:
                                                                                                                       Judge

[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance.]
                        Case 1:12-cv-01466-ALC Document 63 Filed 09/17/20 Page 2 of 2
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Adam Pollock                                                                 , State Bar No.       4518833                         as counsel of record in
                            (Name of New Attorney)

place of       Sean Callagy, Michael Smikun, and Tara McClouskey of Callagy Law, P.C.                                                                               .
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           Telephone:                  (212) 337-5361                                Facsimile (347) 696-1227
           E-Mail (Optional):          Adam@PollockCohen.com


I consent to the above substitution.
Date:
                                                                                                               (Signature of Party (s))
                                                                                                                             Digitally signed by Michael Smikun
I consent to being substituted.                                                    Michael Smikun                            Date: 2020.09.17 08:20:48 -04'00'


Date:                          9/17/2020
                                                                                                      (Signature of Former Attorney (s))

I consent to the above substitution.
Date:
                                                                                                            (Signature of New Attorney)



The substitution of attorney is hereby approved and so ORDERED.


Date:
                                                                                                                       Judge

[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance.]




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